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AO 442 (Rev. 11/11) Arrest Warrant



                                                 UNITED STATES DISTRICT COURT
                                                                                          for the

                                                                             District of Columbia

                        United States of America
                                       v.
                                                                                              ) Case: 1:22~mj-00048
                           Iraj George Javid                                                  ) Assigned to: Judge Faruqui, Zia M.
                                                                                              ) Assign Dat.e: 3/2/2022
                                                                                              ~ Desoription:               COMPLAINT          WI ARREST WARRANT
                                                                                              )
                                  Defendant


                                                                       ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                         to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person    10   be arrested)                                                                  Ira' Geor e Javid
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment              o    Superseding Indictment                        o   Information                 o   Superseding Information           II. Complaint
o     Probation Violation Petition                    o     Supervised Release Violation Petition                           o Violation   Notice       0 Order of the Court

This offense is briefly described as follows:
 18 U.S.C. § 1752(a)(I)-      Entering      and Remaining      in a Restricted     Building   or Grounds
 18 U.S.c.    § 1752(a)(2)-   Disorderly      and Disruptive     Conduct   in a Restricted        Building    or Grounds


 40 U.S.c.    § 5104(e)(2)(D)-    Disorderly     Conduct    in a Capitol    Building


40 U.S.c.     § 51 04(e)(2)(G)-   Parading,     Demonstrating,      or Picketing     in a Capitol     Building

                                                                                                                                           Zia M. Faruqui
Date:             03/02/2022
                                                                                                                                           2022.03.02 17:12:25 -05'00'
                                                                                                                            Issuing officer's signalure

City and state:                          Wash in ton D.C.
                                                                                                                              Printed name and title


                                                                                        Return

           This warrant was received on (date) 0'                      "'~II            -z..t.~and           the person was arrested on (date) Os ,.,MM,-t-t           :k,-Z-
at (city and slale)      tv,,; i .
                             ~J.fo...... Dc


                                                                                                                           Arresting officer's signature

                                                                                                        JaJ'o
                                                                                                                              Printed name and title
